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    UNITED STATES COURT OF APPEALS for the NINTH CIRCUIT

                                Office of the Clerk

                    After Opening a Case – Counseled Cases
                           (revised November 2011)


Court Address – San Francisco Headquarters

 Mailing Address for         Mailing Address for         Street Address
 U.S. Postal Service         Overnight Delivery
                             (FedEx, UPS, etc.)
 Office of the Clerk         Office of the Clerk         95 Seventh Street
 James R. Browning           James R. Browning           San Francisco, CA
 Courthouse                  Courthouse                  94103
 U.S. Court of Appeals       U.S. Court of Appeals
 P.O. Box 193939             95 Seventh Street
 San Francisco, CA           San Francisco, CA
 94119-3939                  94103-1526

Court Addresses – Divisional Courthouses

 Pasadena                    Portland                    Seattle
 Richard H. Chambers    Pioneer Courthouse               William K. Nakamura
 Courthouse             700 SW 6th Ave, Ste 110          Courthouse
 125 South Grand Avenue Portland, OR 97204               1010 Fifth Avenue
 Pasadena, CA 91105                                      Seattle, WA 98104

Court Website – www.ca9.uscourts.gov

The Court’s website contains the Court’s Rules and General Orders, information
about electronic filing of documents, answers to frequently asked questions,
directions to the courthouses, forms necessary to gain admission to the bar of the
Court, opinions and memoranda, recordings of oral arguments, links to practice
manuals, and an invitation to join our Pro Bono Program.
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Court Phone List
 Main Phone Number. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-8000
 14-day Telephone Extension for Briefs
 Northern & Eastern California, Hawaii,
  Arizona, Nevada, Guam,
   Northern Mariana Islands (San Francisco) . . . . . . . . . . . . . . (415) 355-7853
 Central & Southern California (Pasadena).. . . . . . . . . . . . . . . . (626) 229-7261
 Eastern & Western Washington, Idaho,
   Montana, Oregon, Alaska (Seattle). . . . . . . . . . . . . . . . . . . . . (206) 224-2210
 Attorney Admissions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-7800
 Calendar Unit.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-8190
 CJA Matters (Operations Unit) . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-7920
 Docketing.. . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-7830 or (415) 355-7840
 Death Penalty.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-8197
 Electronic Filing – Appellate ECF. . . . . . . . . . . . . . . . . . . . . . . . Send email to
                                                   cmecf_ca9help@ca9.uscourts.gov
 Library. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-8650
 Mediation Unit.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-7900
 Motions Attorney Unit. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-8020
 Procedural Motions Unit. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-7860
 Records Unit. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (415) 355-7820
 Divisional Court Offices:
   Pasadena.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (626) 229-7250
   Portland. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (503) 833-5300
   Seattle.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (206) 224-2200




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Electronic Case Filing

The Ninth Circuit’s Appellate ECF (Electronic Case Files) system is mandatory
for all attorneys filing in the Court, unless they are granted an exemption. All
non-exempted attorneys who appear in an ongoing case are required to register for
and to use the Appellate ECF system. Registration and information about ECF is
available on the Court’s website at www.ca9.uscourts.gov under Electronic
Filing–ECF. Read the Circuit Rules, especially Ninth Circuit Rule 25-5, for
guidance on Appellate ECF, including which documents can and cannot be filed
electronically.

Rules of Practice

The Federal Rules of Appellate Procedure (Fed. R. App. P.), the Ninth Circuit
Rules (9th Cir. R.) and the General Orders govern practice before this Court. The
rules are available on the Court’s website at www.ca9.uscourts.gov under Rules.

Practice Resources

The Court has prepared a practice guide video entitled Perfecting Your Appeal.
The video may be viewed for free on the Court’s website at www.ca9.uscourts.gov
under FAQs, Forms and Instructions -> Guides and Legal Outlines, and may be
purchased through the Clerk’s office in San Francisco for $15.00. Continuing
legal education credit for viewing this videotape is available in most jurisdictions.

Admission to the Bar of the Ninth Circuit

All attorneys practicing before the Court must be admitted to the Bar of the Ninth
Circuit. Fed. R. App. P. 46(a); 9th Cir. R. 46-1.1 & 46-1.2.

To apply for admission, obtain an application (on the Court’s website at
www.ca9.uscourts.gov under Forms or by calling (415) 355-7800) and submit it to
the Clerk’s Office in San Francisco with the admission fee of $230.00. Your
check or money order must be included with the application. If you are registered
for the 9th Circuit's Appellate ECF system, you may upload your application via
ECF and pay with a credit card by logging into Appellate ECF and clicking on
Utilities > Attorney Admission.

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Notice of Change of Address

Counsel who are registered for Appellate ECF must update their personal
information, including street addresses and/or email addresses, online at:
https://pacer.psc.uscourts.gov/psco/cgi-bin/cmecf/ea-login.pl 9th Cir. R. 46-3.

Counsel who have been granted an exemption from using Appellate ECF must file
a written change of address with the Court. 9th Cir. R. 46-3.

Motions Practice

Following are some of the basic points of motion practice, governed by Fed. R.
App. P. 27 and 9th Cir. R. 27-1 through 27-13.

• Neither a notice of motion nor a proposed order is required. Fed. R. App. P.
  27(a)(2)(C)(ii), (iii).
• Motions may be supported by an affidavit or declaration. 28 U.S.C. § 1746.
• Each motion should provide the position of the opposing party. Circuit
  Advisory Committee Note to Rule 27-1(5); 9th Cir. R. 31-2.2(b)(6).
• A response to a motion is due 10 days from the service of the motion. Fed. R.
  App. P. 27(a)(3)(A). The reply is due 7 days from service of the response. Fed.
  R. App. P. 27(a)(4); Fed. R. App. P. 26(c).
• A response requesting affirmative relief and/or relief by a date certain must
  include that request in the caption. Fed. R. App. P. 27(a)(3)(B).
• A motion filed after a case has been scheduled for oral argument, has been
  argued, is under submission or has been decided by a panel, must include on the
  initial page and/or cover the date of argument, submission or decision and, if
  known, the names of the judges on the panel. 9th Cir. R. 25-4.

Emergency or Urgent Motions

All emergency and urgent motions must conform with the provisions of 9th Cir. R.
27-3. Note that a motion requesting procedural relief (e.g., an extension of time to
file a brief) is not the type of matter contemplated by 9th Cir. R. 27-3. Circuit
Advisory Committee Note to 27-3(3).

Prior to filing an emergency motion, the moving party must contact an attorney in

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the Motions Unit in San Francisco at (415) 355-8020.

When it is absolutely necessary to notify the Court of an emergency outside of
standard office hours, the moving party shall call (415) 355-8000. Keep in mind
that this line is for true emergencies that cannot wait until the next business day
(e.g., an imminent execution or removal from the United States).

Briefing Schedule

The Court issues the briefing schedule at the time the appeal is docketed.

Certain motions (e.g., a motion for dismissal) automatically stay the briefing
schedule. 9th Cir. R. 27-11.

The opening and answering brief due dates (and any other deadline set for a
date certain by the Court) are not subject to the additional time described in Fed.
R. App. P. 26(c). The early filing of appellant’s opening brief does not advance
the due date for appellee’s answering brief. 9th Cir. R. 31-2.1.

Extensions of Time to file a Brief

A party may seek either an oral or written extension of time.

Oral Extension
If good cause is shown, the clerk may grant a single extension of no more than 14
days to file an opening, answering or reply brief. 9th Cir. R. 31-2.2(a). You must
inform opposing counsel of your plan to request an extension of time before
contacting the clerk. If an oral extension is granted, the moving party will not
receive any further extensions of time unless the moving party can demonstrate
extraordinary circumstances. You may apply for an oral extension by calling:

• Northern & Eastern California, Hawaii, Guam, Arizona, Northern Mariana
  Islands, Nevada: (415) 355-7853
• Central & Southern California: (626) 229-7261
• Eastern & Western Washington, Idaho, Montana, Oregon, Alaska: (206) 224-
  2210



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Written Extension
Requests for extensions of more than 14 days will be granted only upon a written
motion supported by a showing of diligence and substantial need. This motion
shall be filed at least 7 days before the due date for the brief. The motion shall be
accompanied by an affidavit or declaration that includes all of the information
listed at 9th Cir. R. 31-2.2(b).

The Court will ordinarily adjust the schedule in response to an initial motion.
Circuit Advisory Committee Note to Rule 31-2.2. The Court expects that the brief
will be filed within the requested period of time. Id.

Contents of Briefs

The required components of a brief are set out at Fed. R. App. P. 28 and 32, and
9th Cir. R. 28-2, 32-1 and 32-2.

Excerpts of Record

The Court requires excerpts of record rather than an appendix. 9th Cir. R. 30-
1.1(a). Appellant shall file 4 separately-bound excerpts of record with white
covers at the time the Opening Brief is filed, and shall serve one copy on each
party. 9th Cir. R. 30-1.3. Please review 9th Cir. R. 30-1.3 through 30-1.6 to see a
list of the specific contents and format.

For excerpts that exceed 75 pages, the first volume must comply with 9th Cir. R.
30-1.6(a). Excerpts exceeding 300 pages must be filed in multiple volumes. 9th
Cir. R. 30-1.6(b).

Appellee may file supplemental excerpts and appellant may file further excerpts.
9th Cir. R. 30-1.7 and 30-1.8. If you are an appellee responding to a pro se brief
that did not come with excerpts, then your excerpts need only include the contents
set out at 9th Cir. R. 30-1.7.

Mediation Program

Mediation Questionnaires are required in all civil cases except cases in which the
appellant is proceeding pro se, habeas cases (28 U.S.C. §§ 2241, 2254 and 2255)

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and petitions for writs (28 U.S.C. § 1651). 9th Cir. R. 3-4. They are not required
in criminal cases.

The Mediation Questionnaire is available on the Court’s website at
www.ca9.uscourts.gov under Forms. The Mediation Questionnaire should be
filed within 7 days of the docketing of a civil appeal. The Mediation
Questionnaire is used only to assess settlement potential.

If you are interested in requesting a conference with a mediator, you may call the
Mediation Unit at (415) 355-7900, email ca09_mediation@ca9.uscourts.gov or
make a written request to the Chief Circuit Mediator. You may request
conferences confidentially. More information about the Court’s mediation
program is available at http://www.ca9.uscourts.gov/mediation.

Oral Hearings

Notices of the oral hearing calendars are distributed approximately 4 to 5 weeks
before the hearing date. The Court sits monthly in San Francisco, Pasadena and
Seattle. The Court sits in Portland every other month, depending on caseload.
The Court also hears cases 3 times a year in Honolulu and once a year in
Anchorage.

The Court will change the date or location of an oral hearing only for good cause,
and requests to continue a hearing filed within 14 days of the hearing will be
granted only upon a showing of exceptional circumstances. 9th Cir. R. 34-2.

Oral hearing will be conducted in all cases unless all members of the panel agree
that the decisional process would not be significantly aided by oral argument.
Fed. R. App. P. 34.




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